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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 TUBI, INC.,
       Plaintiff,

 v.                                       Case No. 1:24-cv-01616-ACR

 KELLER POSTMAN LLC,
      Defendant.


      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF KELLER
       POSTMAN LLC’S MOTION TO DISMISS COMPLAINT WITH PREJUDICE

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Dated: September 25, 2024
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     1        Excerpts from Petition for Review, Liapes v. Facebook, Inc., No. S282529
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     2        Excerpts from JAMS Streamlined Arbitration Rules & Procedures
              (July 1, 2014)

     3        W. Postman Letter to M. Levington (JAMS) (Apr. 30, 2024)

     4        JAMS Policy on Consumer Arbitrations Pursuant to Pre-Dispute Clauses
              Minimum Standards of Procedural Fairness (July 15, 2009)

     5        Excerpts from Transcript of Pre-Motion Conference, Tubi Inc. v. Keller
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     6        JAMS Invoice No. 7216606 (June 20, 2024)




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                                        INTRODUCTION

       Plaintiff Tubi, Inc. (“Tubi”) sues Keller Postman for giving its clients legal advice that

Tubi disagrees with. Tubi’s main claim is that Keller Postman induced its clients to breach Tubi’s

Terms of Use (“Terms”) by filing arbitration demands without waiting until 45 days after first

providing notice of their claims to Tubi. But the Complaint makes clear that Keller Postman’s

clients dispute the enforceability of this 45-day delay provision and that the Terms require

arbitration of disputes over contract enforceability. Accordingly, initiating the arbitrations was

compliance, not breach. Nor did the timing of that initiation cause any damages to Tubi, as Tubi’s

allegations confirm that it was unwilling to resolve any claims informally prior to the

commencement of arbitrations. In all events, a contracting party cannot sue its counterparty’s

lawyers for giving legal advice unless it shows that the lawyers were motivated by an interest that

was independent of their clients’ interests.      Here, Tubi’s Complaint confesses that Keller

Postman’s interests were derivative of their clients’ interests, not independent from them. The

Court should dismiss the Complaint.

       Through its free video streaming platform, Tubi served advertisements that were targeted

based on age, sex, and gender—a practice that, under published appellate precedent, violates

California law and gives rise to statutory damages. See Liapes v. Facebook, Inc., 95 Cal. App. 5th

910, 920–27 (2023), review denied (Jan. 10, 2024). Tubi’s Terms bar consumers from bringing

these claims in a class action and require them to arbitrate claims against the company individually.

But when Tubi learned that Keller Postman represented many consumers who would each arbitrate

discriminatory advertising claims against it (“Claimants”), Tubi filed this lawsuit against its

opponents’ lawyers seeking a court order stopping the arbitrations.

       To prevail on its claims, Tubi must show, among other things: (1) that Keller Postman

caused its clients to breach their contract with Tubi; (2) that this breach caused Tubi damages; and
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(3) that Keller Postman was motivated in causing the breach by a goal independent of serving its

clients. Tubi’s Complaint does not establish any of these things.

       First, the demands filed by Keller Postman’s clients challenge the enforceability of the

45-day delay provision in Tubi’s Terms, and the Terms unambiguously require that these threshold

disputes be filed in arbitration, not in court. Keller Postman therefore ensured compliance with

the Terms when it filed arbitration demands for its clients challenging the enforceability of the

delay requirement. Tubi cannot show that the filing of the demands was a breach, and its

Complaint should be dismissed on this ground alone.

       Second, Tubi’s Complaint fails to allege any actual injury from the timing of the notice it

received from Keller Postman’s clients. Keller Postman filed demands for its clients between

April 5 and April 16, 2024. But Tubi was not required pay any arbitration costs for those demands

until July 20, 2024. In the interim, Keller Postman repeatedly offered to discuss resolving its

clients’ claims with Tubi informally before the arbitration commenced. Indeed, Keller Postman

offered to stay the arbitrations if Tubi was interested in discussing a resolution. Tubi rejected these

offers, making clear that it had no desire to resolve any claims before the arbitrations proceeded.

Tubi was perfectly entitled under the Terms to refuse to attempt any resolution of the claims prior

to arbitration. But a claim for tortious interference requires a showing of actual damages, and

Tubi’s Complaint fails to plead how the timing of the notice Tubi received increased Tubi’s costs

at all. This failure is an independent ground for dismissal.

       Third, Tubi’s Complaint—when examined for well-pleaded facts rather than conclusory

legal labels—does not show that Keller Postman was motivated by a desire independent of serving

its clients. Courts have broadly recognized immunity from tortious interference claims for

attorneys who “advise[] or assist[] a client to make or break a contract.” See Shenandoah Assocs.




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Ltd. v. Tirana, 322 F. Supp. 2d 6, 10 (D.D.C. 2004) (quoting Restatement (Third) of the Law

Governing Lawyers § 57 (Am. L. Inst. 2000)). To overcome that immunity, a plaintiff must show

that the attorney “possess[es] a desire to harm which is independent of the desire to protect his

client.” Goldschmidt v. Paley Rothman Goldstein Rosenberg & Cooper, Chartered, 935 A.2d 362,

381 (D.C. 2007) (emphasis added) (quoting Fraidin v. Weitzman, 611 A.2d 1046, 1080 (Md. App.

Ct. 1992). Here, Tubi’s Complaint alleges, at bottom, that Keller Postman committed a tort

because it sought to gain leverage over Tubi for its clients. That is not a motive independent of

the desire to assist a client. Indeed, because Keller Postman operates exclusively on a contingent

contract, the firm, by definition, has no incentive to take a position that it does not think will

maximize the recovery for its clients.

       Tubi attempts to fill the logical hole in its Complaint by (1) repackaging self-serving

attacks leveled against Keller Postman by defendants in unrelated cases; (2) collecting mundane

observations about Keller Postman’s initial communications with its clients and then asking the

Court to infer something pernicious; and (3) asserting that the legal position taken by Claimants in

the arbitrations is meritless. The Court should not be distracted from the governing legal

framework by these spurious attacks. Criticisms by adversaries in unrelated cases are not probative

of Keller Postman’s motives in this case, particularly given that every one of these attacks was

rejected by the courts that considered them.          Tubi’s descriptions of Keller Postman’s

communications with its clients are artfully incomplete in a manner that renders them worthless

upon scrutiny. The merits of Claimants’ positions in the arbitrations are not legally relevant but

are well-grounded on established precedent in any event.

       Under Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007), and Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009), plaintiffs cannot describe conduct that is wholly consistent with lawful




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activity and then survive a motion to dismiss by simply reciting the elements of the governing

legal test. That principle is highly relevant here. Tubi is suing Keller Postman for doing what

lawyers do: giving legal advice to benefit their clients, even if it harms their client’s adversary.

Allegations that Keller Postman hoped to make money from a contingency fee do not create a

plausible inference that Keller Postman was motivated by a desire independent of benefitting its

clients. Nor does Tubi’s conclusory recitation of the legal standard. (Dkt. 1 ¶ 69) (“Keller

Postman has acted . . . independent of any desire to protect its clients.”). That is doubly true where

Tubi’s Complaint in fact confesses that the purported breach at issue was motivated by Keller

Postman’s desire “to force Tubi to settle [with Keller Postman’s clients] using the threat of onerous

fees.” (Id. ¶ 62).

       Because Tubi’s Complaint alleges nothing out of the ordinary, embracing Tubi’s tort theory

would set a dangerous precedent. It would chill “uninhibited advice by agents to their principals”

and replace that advice with the judgments of aggrieved opponents. See L.A. Airways, Inc. v.

Davis, 687 F.2d 321, 328 (9th Cir. 1982). And it would invite parties to all disputes to alienate

adversaries from their attorneys, who normally “benefit from a privilege against tortious

interference with contract claims because they are so closely related to the parties to the contract.”

See Tenneco Auto., Inc. v. El Paso Corp., No. CIV.A. 18810-NC, 2007 WL 92621, at *6 n.33 (Del.

Ch. Jan. 8, 2007) (emphasis added).

       Tubi lets the mask slip when it complains that it faces a “process that would not be taking

place absent Keller Postman . . . .” (Dkt. 1 ¶ 5). In other words, consumers are pursuing claims

against Tubi that they may not have brought absent Keller Postman’s legal advice. That is true of

countless lawsuits in which a law firm identifies a legal theory, informs the affected individuals

that they may have a legal claim, and offers to pursue the claim for them in exchange for




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compensation. Encouraging clients to seek redress for Tubi’s tortious conduct is not itself tortious

conduct. Tubi clearly would prefer a system in which lawyers could not encourage consumers to

bring legal claims but instead must sit in their offices, waiting for consumers to identify their legal

rights on their own and then seek out a lawyer to represent them, one by one. But these desires

are insufficient and improper grounds for a tortious interference claim, and no attempts at artful

pleading can cure the fundamental legal defects with Tubi’s claims. The Court should dismiss the

Complaint with prejudice.

        If the Court does not dismiss the Complaint, the Federal Arbitration Act (“FAA”) requires

the Court to stay this case while Tubi arbitrates the arbitrable issues integral to this suit with Keller

Postman’s clients. 9 U.S.C. § 3. Where an issue in a suit is referable to arbitration, Section 3

requires that courts grant applications to stay proceedings until the arbitration resolves. Id.

Section 3 can be enforced by a litigant in court regardless of whether they are a party to the

underlying arbitration agreement. Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 630, 630 n.4

(2009). The Section 3 standard for a stay is met here. Tubi has alleged a valid agreement to

arbitrate with Keller Postman’s clients. (Dkt. 1 ¶ 72). The core issue Tubi must prove to prevail—

that Keller Postman’s clients breached the Terms by challenging the delay provision in arbitration

before complying with it—is plainly arbitrable under that agreement: “JAMS decided that the

issue of whether the claimants met the precondition for arbitration should be left to the still-to-be

assigned arbitrator.” (Id. ¶ 68). This suit is therefore intertwined with and derivative of the

pending arbitrations. Allowing the suit to proceed before the arbitration resolves would risk

undermining the arbitrations pending between Tubi and Claimants and remove the issue to an

improper forum, in violation of the FAA. In this context, and as court after court has held, Keller

Postman has the right to a stay under Section 3.




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                                              FACTS

       Keller Postman is a law firm that pioneered the practice—sometimes called “mass

arbitration”—of representing thousands or tens of thousands of individuals simultaneously in

arbitration. (Dkt. 1 ¶¶ 16–19). Though companies routinely lash out at Keller Postman for

initiating mass arbitrations, consumers are enforcing the very arbitration agreements companies

like Tubi draft and impose on users. (Id. ¶¶ 6, 16, 21). Corporations draft and impose these

agreements to reduce the economic incentive to bring smaller claims by requiring consumers to

arbitrate individually and forgo participation in more efficient forms of dispute resolution, such as

class actions. (Id., Ex. 8 at 130). Tubi and similarly situated companies are no doubt frustrated

when Keller Postman refuses to permit these agreements to achieve their aim of avoiding liability,

as Keller Postman’s efforts have resulted in high-profile successes that have netted consumers

hundreds of millions of dollars. (Id. ¶¶ 16, 21, 25, 31).

       The arbitration agreements Keller Postman enforces for consumers often obligate

companies to pay arbitration initiation fees. (Id. ¶¶ 5, 21); (id., Ex. 8 at 130). Despite drafting

their contracts ex ante to assume these costs, companies faced with mass arbitration ex post

characterize consumer requests that companies pay these costs as “extortion.” (Id. ¶¶ 5, 24, 27–

28, 60, 61). Companies also seek to evade claims by accusing consumers’ lawyers of ethics

violations and proposing an end to mass arbitrations. (Id. ¶¶ 20–23, 27–33).

       Time and again, arbitrators and courts have rejected corporate attempts to slander Keller

Postman for its work representing consumers and employees, observing that Keller Postman and

its clients were complying with the agreements corporations drafted and noting the hypocrisy of

corporations which refuse to comply with the procedures they impose on individuals. See, e.g.,

Abernathy v. DoorDash, Inc., 438 F. Supp. 3d 1062, 1067–68 (N.D. Cal. 2020) (criticizing the

“irony” that a company “faced with having to actually honor its side of the bargain, now blanches


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at the cost” because it “never expected that so many would actually seek arbitration . . . . This

hypocrisy will not be blessed . . . .”); Adams v. Postmates, 414 F. Supp. 3d 1246, 1252 n.2 (N.D.

Cal. 2019), aff’d, 823 F. App’x 535 (9th Cir. 2020) (“Postmates expends considerable energy

accusing Petitioners of using the cost of the arbitration process as a means of coercing Postmates

into settling their claims expeditiously. . . . [T]he possibility that Postmates may now be required

to submit a sizeable arbitration fee in response to each individual arbitration demand is a direct

result of the mandatory arbitration clause and class action waiver that Postmates has imposed.”);

Intuit Inc. v. 9,933 Individuals, No. 20 STCV 22761, 2020 WL 7094231, at *13 (Cal. Super. Ct.

L.A. Cnty. Oct. 6, 2020) (unpublished), aff’d, No. B308417, 2021 WL 3204816 (Cal. Ct. App.

July 29, 2021) (“In this case, Intuit is a bit like the dog that caught the car. It got the Consumers’

claims out of class litigation and into arbitration, then realized that this was a large class and that

resolving the claims individually would be hopelessly expensive.”). Tubi dusts off these oft-

rejected themes and presents them anew, but its own Complaint reveals that Keller Postman has

merely done what any good attorney should do: adopt the readings of the law that give their clients

the best chance at favorably resolving their legal claims.

I.      Keller Postman’s clients arbitrate per the Terms.

        Keller Postman represents 23,736 consumers who each asserted before JAMS that they

received discriminatory advertising from Tubi in violation of California’s Unruh Civil Rights Act

(the “Unruh Act”). (Dkt. 1 ¶¶ 10, 36, 48); (id., Ex. 15 at 207–16). Tubi asserts—based on its

narrow construction of the claims in the demands and the applicable law—that the demands are

“frivolous.” (Id. ¶ 50). But this legal assertion is plainly subject to arbitration under the Terms.

And as the Complaint alleges, JAMS accepted the sufficiency of the demands and initiated the

arbitrations. (Id. ¶¶ 5, 68).




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       Tubi includes legal argument masquerading as factual allegations that Keller Postman’s

clients’ Unruh Act claims are frivolous. (Id. ¶¶ 48–49). But contrary to Tubi’s legal argument,

the Unruh Act claims are well grounded in precedent: a recent appellate decision makes clear that

companies like Tubi violate the Unruh Act if they employ tools that let advertisers target

advertisements based on age or gender. See Liapes, 95 Cal. App. 5th at 920–27 (holding consumer

stated a claim for discriminatory advertising by alleging “Facebook engaged in intentional

discrimination by designing and employing ad tools that expressly make distinctions based on

gender and age when creating the target audience for insurance ads”). In a petition to the California

Supreme Court for review, Facebook highlighted that “the Court of Appeal embraced plaintiff’s

boundless theory of liability. In its view, so long as the intended or actual audience for ads depends

in any way on age or gender, an Unruh Act claim challenging those ads can survive a demurrer.”

Ex. 1, Pet. for Rev. at 25, Liapes v. Facebook, Inc., No. S282529 (Cal. Oct. 31, 2023). The

California Supreme Court denied review over this objection and denied a request to depublish the

decision, electing instead to let the decision remain precedential. Tubi of course is free to take a

narrower reading of Liapes or argue to an arbitrator that it was wrongly decided. But it is not

frivolous for a Claimant to argue for the reading of Liapes that was taken by Facebook’s counsel

before the California Supreme Court.

       Keller Postman’s clients each understood that they were subject to the JAMS arbitration

agreement in Tubi’s Terms. (Dkt. 1 ¶¶ 36, 54); (id., Ex. 15 at 209); (id., Ex. 8 at 126). The Terms

require that each consumer raise claims individually and bar any “PURPORTED CLASS,

REPRESENTATIVE OR MULTI-CLAIMANT PROCEEDING . . . .” (Id. at 130). The Terms

also purport to impose a 45-day delay period before a consumer can arbitrate against Tubi:

       If either you or Tubi wish to arbitrate a claim, you or Tubi must first send by mail
       to the other a written Notice of Dispute (“Notice”) that sets forth the name, address,



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         and contact information of the party giving notice, the specific facts giving rise to
         the Dispute, the Tubi Service to which the Notice relates, and the relief requested.
         . . . During the first 45 days after you or we send a Notice to the other, you and we
         may try to reach a settlement of the Dispute. . . . If you and we do not resolve the
         Dispute within 45 days, either you or we may initiate arbitration . . . .

(Id.).

         Keller Postman’s clients took the position that this requirement was unconscionable and

unenforceable. And because the Terms state that any “disputes over arbitrability shall be resolved

by the arbitrator” (id.) and incorporate arbitral rules stating the same, this threshold dispute was

itself a basis for commencing arbitration. See also Ex. 2, JAMS Streamlined Arbitration Rules &

Procedures (July 1, 2014) (“JAMS Rules”), at 11, Rule 8(b) (stating that “[j]urisdictional and

arbitrability disputes, including disputes over the formation, existence, validity, interpretation or

scope of the agreement under which Arbitration is sought, and who are the proper Parties to the

Arbitration, shall be submitted to and ruled on by the Arbitrator.”).

         Keller Postman’s clients accordingly each filed an arbitration demand that challenged the

enforceability of the delay provision. Specifically, each demand challenged the provision as

“illusory, unconscionable and therefore unenforceable” because it required the Claimant “to give

Tubi written notice of a dispute and to wait for 45 days before initiating an arbitration against

Tubi,” while “impos[ing] no obligation on Tubi to do anything during that 45-day wait period.”

(Dkt. 1, Ex. 15 at 208).

         After the consumers filed their demands but before JAMS had commenced the

arbitrations, 1 Keller Postman repeatedly offered to engage with Tubi to resolve or narrow the




1
  Under the JAMS Rules, the filing of an arbitration demand does not commence an arbitration.
Rather, an arbitration is commenced only after (1) JAMS determines that the initial filing
requirements are met; (2) the parties have an opportunity to raise threshold administrative issues;
and (3) filing fee has been paid. See Ex. 2 at 7, 9-10 (JAMS Rules 5(b), 6).


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parties’ disputes. First, Keller Postman offered on behalf of each client to “stay the arbitration for

up to 45 days” while the parties explored informal resolution. (Id.). Tubi declined this offer.

(Dkt. 1 ¶ 57). When Tubi asserted that many of the claims were “specious” and “frivolous,”

including because it did not believe certain Claimants had registered accounts, (id. ¶¶ 50, 59); (id.,

Ex. 17 at 221–22), Keller Postman again offered to engage in informal discussions to narrow the

dispute. Specifically, Keller Postman assured Tubi that it had “of course conducted additional

vetting of [C]laimants’ claims beyond the initial questions you have seen” and had “no desire to

impose arbitration costs on Tubi for claims that are not well supported.” (Id. ¶ 61); see also Ex. 3,

W. Postman Letter to M. Levington (JAMS) (Apr. 30, 2024), at 5. 2 Therefore, Keller Postman

proposed that Tubi identify the individual Claimants it was asserting had invalid claims and Keller

Postman would either rebut Tubi’s position or withdraw the arbitration for any Claimant who could

not rebut Tubi’s showing. Ex. 3 at 5. Tubi again refused, failing to identify the name of a single

individual whom they contended had a facially meritless claim. (Dkt. 1 ¶¶ 57, 64). On May 7,

2024, Keller Postman again offered to engage in informal resolution efforts before the

commencement of the arbitrations, sending individual letters on behalf of each client that made an

opening demand and offered to resolve the Claimant’s claim on an individual basis. (Id. ¶ 63).

Tubi again refused to engage, making clear that it had no desire to attempt informal resolution of

a single claim or dispute prior to the commencement of the arbitrations. (Id. ¶ 64).

II.       Tubi tries to block the arbitrations to avoid the fees it obligated itself to pay.

          After receiving Keller Postman’s clients’ demands, Tubi purported to issue new terms of

use on April 18, 2024. (Id., Ex. 9 at 133–91). The revisions included many new onerous

procedures designed to deter consumer claims. Notably, the revisions converted the Terms’ delay



2
    Tubi references (Dkt. 1 ¶ 64), but does not attach, the letter attached to this motion as Exhibit 3.


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provision into a “Mandatory Informal Dispute Resolution Process,” thereby turning Tubi’s non-

binding option to try to reach a settlement of the noticed dispute into a binding obligation to do so.

Compare (id., Ex. 8 at 130), with (id., Ex. 9 at 170–73).

       The next day, Tubi wrote JAMS administrators demanding that JAMS “refrain from

initiating any arbitration proceedings or issuing any invoices to Tubi . . . .” (Id., Ex. 16 at 218).

Tubi wanted to avoid the initiation fees it had obligated itself to pay in the Terms, which it now

characterized as extortion. (Id. ¶¶ 5, 24, 60, 61, 62); see also (id., Ex. 8 at 130) (requiring Tubi to

“pay arbitration costs as required by” the JAMS Consumer Minimum Standards of Procedural

Fairness); Ex. 4, JAMS Policy on Consumer Arbitrations Pursuant to Pre-Dispute Clauses

Minimum Standards of Procedural Fairness (July 15, 2009), at 3 (“[W]hen a consumer initiates

arbitration against the company, the only fee required to be paid by the consumer is $250 . . . .”).

Tubi also argued that it did not need to arbitrate because JAMS lacked jurisdiction, as the

consumers had not complied with the delay provision before challenging it. (Id., Ex. 16 at 218).

Tubi also contended that it should not have to arbitrate because JAMS was about to change its

rules to reduce the fees Tubi would have to pay. (Id.). Those rules, however, apply only where

“the Parties have agreed to the application” of the rules “in a pre- or post-dispute written

agreement.” (Dkt. 1, Ex. 20 at 233).

       For their part, Keller Postman’s clients pointed out to JAMS that they only sought to

enforce the Terms Tubi drafted and that the law required JAMS to proceed with each consumer’s

claims expeditiously. (Id., Ex. 18 at 224–25); (id. ¶ 61). Further, as noted above, Keller Postman

referenced its offer to Tubi to address Tubi’s claims of frivolity and withdraw any claims for clients

who could not rebut Tubi’s assertions, as it had “no desire to impose arbitration costs on Tubi for

claims that are not well supported.” (Id. ¶ 61); see also Ex. 3 at 5.




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        As a fallback position, Tubi argued that if JAMS were to initiate the arbitrations over Tubi’s

objections, JAMS should consolidate them—in breach of the Terms’ provision to the contrary—

so that Tubi would not have to pay the full amount of the fees it had agreed to pay when it drafted

and imposed the Terms. (Dkt. 1 ¶¶ 61, 68). JAMS rejected Tubi’s request to close the arbitrations,

explaining that the dispute over the enforceability of the notice provision itself was a dispute for

an arbitrator to resolve. (Id. ¶ 68). But JAMS granted Tubi’s request for consolidation over the

Claimants’ objections, notwithstanding the Terms’ express bar on “multi-claimant proceeding[s].”

(Id. ¶ 68); (id., Ex. 8 at 130).

III.    After failing to stop the arbitrations, Tubi files this lawsuit.

        For all its maneuvering, Tubi had not extinguished the consumers’ claims, which remained

before JAMS. And Tubi presumably knew it could not ask the Court to interfere directly with the

arbitrations brought by Keller Postman’s clients. So, Tubi repackaged its arguments and filed the

Complaint, seeking an order that Keller Postman “withdraw the demands for arbitration it filed

with JAMS” or that JAMS “stay[] all arbitration proceedings, including the payment of any

invoices by Tubi, during the pendency of this action”; and damages and attorneys’ fees. (Id. ¶¶ 84–

88). In other words, Tubi asks this Court to issue relief allowing it to avoid the arbitrations its

Terms mandate.

        Tubi raises two causes of action. Count 1 alleges tortious interference with Tubi’s Terms

because Keller Postman advised its clients to arbitrate their disputes over the enforceability of the

delay provision. (Id. ¶¶ 71–78). Count 2 asks the Court to issue a declaration confirming (a) the

tortious interference claim; (b) Tubi’s legal conclusion on the sufficiency of Keller Postman’s

clients’ JAMS demands; and (c) Tubi’s views of Keller Postman’s duties. (Id. ¶¶ 79–83).

                                           ARGUMENT

        The Court should dismiss both counts with prejudice, for three independent reasons.


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       First, Tubi has not alleged that Keller Postman caused a breach of the Terms by counseling

its clients to file arbitration demands when they did. Keller Postman’s clients dispute the

enforceability of the Terms’ 45-day delay provision. And the Terms and the law clearly require

that this dispute be raised with an arbitrator. Far from breaching any contract, Keller Postman’s

clients followed the Terms by initiating arbitrations regarding the enforceability of the Terms.

Tubi offers no coherent explanation of how else Keller Postman’s clients could have challenged

the enforceability of the delay provision or how complying with the Terms’ delegation clause was

a breach of the Terms.

       Second, the Complaint does not allege injury resulting from the purported breach because

Tubi elected not to engage in informal dispute resolution prior to the commencement of the

arbitrations. Tubi had every right to make that choice. But having made that choice, Tubi cannot

identify any costs that it incurred as a result of the timing of Claimants’ notice of their claims.

       Third, Tubi’s Complaint does not include well-pleaded facts (as opposed to conclusory

legal labels) that give rise to a plausible claim that Keller Postman was motivated by an interest

independent of benefitting its clients. Parties cannot sue their opponents’ lawyers for giving advice

they disagree with. The only exception to this rule is if attorneys counsel their clients to breach a

contract to benefit the attorneys’ interests independent from the clients’ interest. Tubi’s Complaint

fails to identify any interest Keller Postman held independent of its clients. Indeed, such

independence is impossible, as Keller Postman represents clients on a contingent basis. Keller

Postman’s pecuniary interest, which Tubi complains about, is therefore inexorably and directly

linked to the firm’s clients’ interests. In fact, Tubi’s own Complaint confesses that the supposed

breach was motivated by a desire to obtain a settlement for Keller Postman’s clients. (Dkt. 1 ¶ 62).




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       Because the Complaint does not adequately plead a tortious interference claim, the Court

should dismiss all of Count 1 (Tortious Interference) as well as the portion of Count 2 (Declaratory

Relief) that merely seeks a declaration regarding Tubi’s tortious interference claim. The remaining

portions of Count 2 fail because the merits issue on which Tubi seeks a declaration—the

sufficiency of Keller Postman’s clients’ claims—is delegated to the arbitrator, and because Tubi

lacks standing to win a declaration about Keller Postman’s duties to its clients.

       Alternatively, if the Court does not dismiss, the Court should stay this case while Tubi

arbitrates the core issues underpinning this suit—the merits of the underlying discrimination

claims and the enforceability of the Terms’ delay provision—with the Claimants, Keller Postman’s

clients. Without such a ruling, Tubi would circumvent the FAA, advancing consideration of issues

it committed to resolve in arbitration with the Claimants through the procedural trick of suing those

clients’ lawyers in court. As explained below, where the issues in a lawsuit are intertwined with

issues one party has agreed to arbitrate, Section 3 calls for courts to stay proceedings until the

arbitration is had. This is true regardless of whether the litigant seeking a stay is also a party to

the arbitration agreement. Because the Terms commit the core questions underpinning this suit to

an arbitrator, the Court should, if it decides not to dismiss, stay this suit until Tubi and the

Claimants complete arbitration of those issues.

I.     The Court should dismiss the tortious interference claims.

       “[T]he elements of tortious interference with contract are: ‘(1) the existence of a contract;

(2) knowledge of the contract; (3) intentional procurement of a breach of the contract; and

(4) damages resulting from the breach.’” Casco Marina Dev., L.L.C. v. D.C. Redevelopment Land

Agency, 834 A.2d 77, 83 (D.C. 2003) (quoting Paul v. Howard Univ., 754 A.2d 297, 309 (D.C.




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2000)). 3 However, where, as here, the allegedly tortious conduct is legal advice, courts will not

recognize a claim unless the plaintiff shows that the attorney “possess[es] a desire to harm which

is independent of the desire to protect his client.” Goldschmidt, 935 A.2d at 381 (emphasis added)

(quoting Fraidin, 611 A.2d at 1080).

       The Court should dismiss Tubi’s tortious interference claims because the Complaint does

not include well-pleaded facts, as distinct from conclusory legal labels, showing (1) that Keller

Postman caused its clients to breach the Terms, (2) that the timing of Keller Postman’s filings led

to any actual damages, or (3) that Keller Postman pursued an interest independent of benefitting

its clients. Each of these are required elements of Tubi’s claims, so failure on any one factor

requires dismissal.

       A.      Tubi does not allege breach because the Terms’ delegation clause requires
               Claimants to arbitrate their threshold dispute about the enforceability of the
               delay provision.

       In addition to requiring that Claimants bring their underlying discrimination claims in

arbitration, the Terms contain a “delegation clause,” which also requires that Claimants arbitrate

any threshold arguments about the interpretation and enforceability of the Terms. Specifically, the

Terms state that “disputes over arbitrability shall be resolved by the arbitrator.” (Dkt. 1, Ex. 8 at

130). And the Terms also incorporate the JAMS Rules, which confirm that “disputes over the

formation, existence, validity, interpretation or scope of the agreement under which Arbitration is

sought . . . shall be submitted to and ruled on by the Arbitrator.” Ex. 2 at 11 (JAMS Rule 8(b)).

Such delegation provisions have become common in arbitration clauses drafted by corporations,



3
 Defendant believes the law of the District of Columbia should control Tubi’s tortious interference
claims because the Complaint focuses primarily on decisions made by Keller Postman there.
(Dkt. 1 ¶¶ 55–56, 60, 71). However, the laws of California and Delaware are not materially
different. See, e.g., Ixchel Pharma, LLC v. Biogen, Inc., 470 P.3d 571, 575 (Cal. 2020); Bhole,
Inc. v. Shore Invs., Inc., 67 A.3d 444, 453 (Del. 2013).


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because they allow corporations to compel lawsuits out of court and into arbitration without facing

litigation or argument about the enforceability or fairness of the underlying arbitration procedures;

all such arguments must themselves go to arbitration. See Henry Schein, Inc. v. Archer & White

Sales, Inc., 586 U.S. 63, 65 (2019) (“When the parties’ contract delegates the arbitrability question

to an arbitrator, the courts must respect the parties’ decision as embodied in the contract.”).

       As Tubi is forced to acknowledge, each of Keller Postman’s clients asserts that the 45-day

delay provision contained in the terms is unenforceable. (Dkt. 1 ¶ 53). Specifically, each

Claimant’s demand expressly argued that the delay provision is unconscionable because it

unilaterally obligates consumers to delay their claims without obligating Tubi to do anything in

return. (Id., Ex. 15 at 208). Given the clear delegation requirement in the Terms, the only option

Keller Postman’s clients had to litigate their threshold dispute with Tubi over the meaning of the

Terms was to file an arbitration demand. Keller Postman’s clients accordingly did what the Terms

and the law require and initiated arbitrations regarding the enforceability of the delay provision.

       During the pre-motion conference, Tubi’s counsel suggested that the Court must find a

breach here because that is the only way that Tubi can litigate the issue, implying that the Court’s

failure to do so would allow consumers to avoid the 45-day delay provision merely by challenging

it. See Ex. 5, Sept. 4, 2024 Hr’g Tr., at 8:5–11. But that is simply a request that the Court ignore

Claimants’ compliance with the Terms because Tubi does not like the practical consequences.

Such a request is particularly unconvincing given that Tubi drafted the Terms and was the author

of the delegation clause. Tubi presumably included the delegation clause because, at the time, it

thought it would be procedurally advantageous to channel arguments about the enforceability of

the Terms promptly into arbitration. Now Tubi appears to have changed its mind and would prefer




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not to have a delegation clause, at least in this case. But none of that shows that Claimants breached

the Terms by complying with the delegation clause. 4

       As Tubi alleges, Keller Postman’s clients are parties to arbitration agreements with Tubi

(the agreements that Tubi alleges were breached) (Dkt. 1 ¶ 72); those agreements require

arbitration of disputes about pre-conditions to arbitrations (id., Ex. 8 at 130); and Keller Postman’s

clients dutifully initiated arbitrations of those disputes (id. ¶ 53). Tubi’s facts therefore allege

compliance, not breach—and without breach, there is no tortious interference.

       B.      Tubi does not allege damages because the purported breach had no impact on
               Tubi’s costs.

       Tubi alleges that it suffered damages from having “to pay ongoing fees to the arbitrator

and to JAMS, along with attorneys’ fees that it would not have had to pay but for Keller Postman’s

tortious interference.” (Id. ¶ 68). But to establish its claim, Tubi must show that these damages

were the result of the purported breach. See Casco Marina Dev., 834 A.2d at 83. Here, the breach

alleged is that Keller Postman advised its clients to file their demands with JAMS 45 days too

early, thereby purportedly violating the 45-day delay provision.

       Tubi’s Complaint makes clear that Tubi would have incurred precisely the same costs

regardless of whether Claimants filed their demands 45 days later. As described above, Keller

Postman filed Claimants’ demands between April 5 and April 16, 2024. But Tubi was not required



4
  Tubi may attempt to fault Keller Postman for advising its clients to include their underlying
discrimination claims in their demands alongside their threshold dispute. That choice still was not
a breach because the 45-day delay provision is unenforceable. But the enforceability question is
subject to arbitration under the Terms and so, as explained below, should not be reached by this
Court. See infra, Argument, Section IV.A. In all events, Tubi cannot allege any damages resulting
from the fact that Claimants included their underlying claims alongside their threshold claim
demand. Tubi has not alleged and cannot allege that it paid any extra money as a result of the
demand including both issues. Filing two separate arbitrations—an initial one regarding the
threshold issues and a subsequent one regarding the underlying claims—thereby incurring two sets
of fees, could only have increased the costs to Tubi, not decreased them.


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to pay any fees to JAMS until July 20, 2024. Specifically, JAMS invoiced Tubi for a single filing

fee of $2,000 for the consolidated arbitration. (Dkt. 1 ¶¶ 5, 68). That invoice was issued on June

20, 2024. See Ex. 6, JAMS Invoice No. 7216606 (June 20, 2024). California law gave Tubi 30

days to pay that invoice. Cal Civ. Proc. Code § 1281.97(a)(1). 5 In the interim, Keller Postman

repeatedly offered to discuss resolving its clients’ claims with Tubi. (Dkt. 1 ¶¶ 57, 61, 63, 64); see

also Ex. 3 at 5. And Tubi repeatedly rejected these offers, making clear that it had no desire to

engage in informal resolution or narrowing of the disputes of any kind. See supra, Facts, Section I.

       Tubi was perfectly entitled to make the strategic litigation choice that it did. As noted, the

Terms do not impose any obligation on Tubi to engage in good faith settlement discussions prior

to arbitration. See supra, Facts, Section I. But having made clear that it would not engage in any

informal dispute resolution efforts with Claimants prior to the commencement of arbitrations, Tubi

cannot credibly assert that it was injured by the timing of Claimants’ filing.

       Tubi cannot cure the flaw in its pleadings by pointing to the allegation that “Keller Postman

rushed to file these demands for arbitration and disregarded the mandatory notice and the 45-day

informal dispute resolution period because it was aware JAMS was about to reform its rules to

curtail the mass arbitration abuses by Keller Postman and other firms.” (Dkt. 1 ¶ 62). Even

assuming the truth of this allegation, the new JAMS rules state on their face that they will only

apply if the parties’ contract expressly provides for their application. (Id., Ex. 20 at 233). But

neither version of the Terms attached to the Complaint provides for JAMS arbitration based on the

new JAMS rules. (Id., Exs. 8, 9). Even if those rules had taken effect during the delay period,

they still would not apply to the parties’ dispute and Tubi would be in the same position it is now.




5
 JAMS does not commence arbitrations until after the filing fee has been paid. Ex. 2 at 7 (JAMS
Rule 5(b)).


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          In truth, the Terms Tubi drafted to govern disputes and the corresponding claims Keller

Postman’s clients filed are the ultimate reasons why Tubi had to retain attorneys and pay $2,000

to JAMS. But it is not a breach of the Terms to file legal claims. To the contrary, the Terms

expressly contemplate and allow claims to be filed in arbitration. Counsel for Tubi acknowledged

as much at the pre-motion conference, arguing that this case is purportedly different from the usual

case because Tubi is focusing on Keller Postman’s failure to delay filing of its clients’ claims under

the 45-day delay provision. See Ex. 5 at 7:13–17. Tubi has grounded its theory of breach on the

allegation that Keller Postman filed its clients’ claims prematurely. But the injuries Tubi identifies

do not logically flow from that breach. The tortious interference claim fails for this independent

reason.

          C.     Tubi alleges facts showing that Keller Postman acted in service of, not
                 independently of, its clients’ interests.

          Courts have broadly recognized immunity from tortious interference claims for attorneys

who “advise[] or assist[] a client to make or break a contract.” See Shenandoah Assocs., 322 F.

Supp. 2d at 10 (quoting Restatement (Third) of the Law Governing Lawyers § 57 (2000)). To

overcome that immunity, a plaintiff must show that the attorney “possess[es] a desire to harm

which is independent of the desire to protect his client.” Goldschmidt, 935 A.2d at 381 (quoting

Fraidin, 611 A.2d at 1080); see also Nave v. Newman, 140 A.3d 450, 456 (D.C. 2016) (same).

          Tubi attempts to meet this standard by reciting that Keller Postman’s “actions are not about

vindicating its clients’ rights” (Dkt. 1 ¶ 57) and are “independent of any desire to protect its

clients” (id. ¶ 69). But such recitation of legal elements should not be credited on a motion to

dismiss. This section first examines the proper standard for assessing Tubi’s claims on a motion

to dismiss. It then explains why Tubi has not adequately pleaded that Keller Postman possessed

an interest other than benefitting its clients. Finally, it addresses the extensive allegations in the



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Complaint that Tubi included in an apparent attempt to mask the holes in its pleading, but that do

not in fact cure the Complaint’s flaws.

                1.      Allegations that are consistent with lawful conduct do not support a
                        claim of unlawful conduct simply because the Plaintiff recites the legal
                        standard and alleges that it is met.

        Tubi’s Complaint faces a basic challenge: Keller Postman’s conduct as alleged in the

Complaint can be readily explained by an obvious and lawful purpose. Keller Postman was simply

pursuing well-established and lawful practices: identifying legal claims for consumers who are

subject to arbitration clauses, marketing its services to those consumers, resolving its clients’

claims for monetary compensation, and then taking a portion of its clients’ recovery as

compensation for its services. (Dkt. 1 ¶¶ 16–25). As part of that, Keller Postman advised clients

to file claims without delay—the act Tubi asserts to be a breach—specifically because, according

to Tubi, it hoped to gain leverage for its clients. (Id. ¶ 62).

        The Supreme Court has repeatedly made clear that where, as here, a defendant’s conduct

is readily explained by a lawful motive, courts should look past conclusory recitations of the legal

standard and insist on well-pleaded factual allegations that make an unlawful explanation more

than a mere possibility. In Twombly, the plaintiffs were consumers who alleged that national

telecom companies had conspired against local telecom companies, which in turn caused an

increase in the rates for local telephone and high-speed Internet services. 550 U.S. at 550. The

consumers’ complaint alleged that the telecom companies had committed a range of unsavory acts:

“providing inferior connections to the networks, overcharging, and billing in ways designed to

sabotage the [local companies’] relations with their own customers” and a “common failure

meaningfully to pursue attractive business opportunities in contiguous markets.” Id. at 550–51

(cleaned up). It then asserted that “in light of the parallel course of conduct that each engaged in

to prevent competition from [local telecoms] . . . , Plaintiffs allege upon information and belief


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that [the national telecoms] have . . . have agreed not to compete with one another and otherwise

allocated customers and markets to one another.” Id. at 551.

        Although the allegation of an “agree[ment] not to compete” was technically an assertion

of fact, the Supreme Court refused to credit this allegation and instead held that the complaint

should be dismissed. Id. at 555. The Court reasoned that the plaintiffs’ allegation of an unlawful

agreement was simply “a formulaic recitation of the elements of a cause of action.” Id. The Court

instead asked whether the more specific facts alleged in the complaint gave rise to a “plausible

suggestion of conspiracy.” Id. at 565–566. The Court acknowledged that, given the parallel

conduct alleged in the complaint, it was possible that there was an unlawful agreement; but this

was not sufficient because there was “an obvious alternative [and lawful] explanation” for the

parallel conduct. Id. at 567. In other words, because the complaint pleaded facts that were “merely

consistent with” the defendant’s liability, it “stop[ped] short of the line between possibility and

plausibility of ‘entitle[ment] to relief.” Id. at 557.

        The Supreme Court’s decision in Iqbal reaffirmed Twombly and made clear that its

requirements apply to all complaints, not just those in the antitrust cases. In Iqbal, the plaintiff

alleged that he suffered physical abuse while he was detained by the FBI following the

September 11 terrorist attacks, and that this abuse was part of a policy established by the FBI to

target Arab Muslim men in violation of the Constitution. 556 U.S. at 667. Iqbal further alleged

that Attorney General John Ashcroft was the “principal architect” of this policy and FBI Director

Robert Mueller was “instrumental in [its] adoption, promulgation, and implementation.” Id. at

669. Citing Twombly, the Court reiterated that “[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice” and that a complaint is not

adequate when “the well-pleaded facts do not permit the court to infer more than the mere




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possibility of misconduct.” Id. at 678–79. Applying these principles, the Court refused to credit

the allegations that Ashcroft was the “principal architect” of the unlawful policy and that Mueller

was “instrumental” in adopting it because “[t]hese bare assertions, much like the pleading of

conspiracy in Twombly, amount to nothing more than a ‘formulaic recitation of the elements’ of a

. . . claim.” Id. at 681 (quoting Twombly, 550 U.S. at 551); see also id. (“To be clear, we do not

reject these bald allegations on the ground that they are unrealistic or nonsensical. . . . It is the

conclusory nature of respondent's allegations, rather than their extravagantly fanciful nature, that

disentitles them to the presumption of truth.”).

       As explained below, Keller Postman’s conduct is wholly consistent with a lawful purpose.

The specific facts alleged in Tubi’s Complaint do not give rise to a plausible inference of unlawful

conduct under Twombly and Iqbal. And Tubi’s “formulaic recitation[s] of the elements of [its]

claim” cannot save the Complaint. Iqbal, 556 U.S. at 681 (quoting Twombly, 550 U.S. at 551).

               2.      Tubi has not adequately pleaded that Keller Postman possessed an
                       interest other than benefitting its clients and has in fact confessed that
                       Keller Postman was motivated by its clients’ interests.

       As noted, the only breach of the Terms identified by Tubi is Claimants’ decision to file

their demands immediately with JAMS rather than waiting an additional 45 days.                Tubi’s

Complaint fails to plead specific facts showing that Keller Postman advised clients to adopt this

timing with motives “independent” of its obligation to serve its clients. Epithets and legal labels

aside, Tubi’s Complaint alleges one, and only one, form of benefit that Keller Postman was seeking

by advising this timing: pecuniary gain from the matters themselves. That is fatal to Tubi’s

argument because as Tubi alleges, Keller Postman represents its clients on a contingent basis.

(Dkt. 1 ¶¶ 25, 31). Accordingly, the only way Keller Postman can further its own pecuniary

interest through the timing of Claimants’ filings is by obtaining more money for its clients. Thus,

by definition, Keller Postman’s pecuniary interest was dependent on, and not “independent of,” its


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clients’ interests. See Nave, 140 A.3d at 456 (quoting Shenandoah Assocs., 322 F. Supp. 2d at 11)

(rejecting claim that tort liability attaches because “the lawyer hopes the action will increase the

lawyer’s fees or reputation as a lawyer”).

       Tubi’s allegations in fact confirm that Keller Postman was acting to further its clients’

interests. Tubi asserts that “Keller Postman rushed to file these demands for arbitration and

disregarded the mandatory notice and the 45-day informal dispute resolution period . . . . to force

Tubi to settle [with Keller Postman’s clients] using the threat of onerous fees.” (Dkt. 1 ¶ 62). Tubi

subjectively views this conduct as “unfair[] to Tubi . . . .” (Id. ¶ 62) (emphasis added). But Tubi

cannot state a claim under Goldschmidt and Nave by claiming that Keller Postman advantaged its

own clients at Tubi’s expense. That was Keller Postman’s job, which is protected from tort liability

under Goldschmidt and Nave. On the contrary, Tubi must allege facts to show Keller Postman

was doing something that advanced its own interests instead of its clients’ interests.

       Multiple appellate cases confirm that Tubi’s allegations here are insufficient to state a claim

for tortious interference. For example, in Goldschmidt, the owner of a brewing company, Fischer,

made a contract with a broker, Flax, to help secure financing for the brewer, 935 A.2d at 366.

When the financing deal fell through, both sides sued each other, but Fischer also attempted to sue

Flax’s law firm, Paley Rothman, on the theory that their advice to Flax led the financing to fall

through and was therefore tortious interference. Id. at 367. The D.C. Court of Appeals affirmed

the trial court’s decision to sanction Fischer’s lawyers for bringing an entirely unfounded claim

for tortious interference. Id. at 382. The court explained that an attorney cannot be held liable

“‘where [the] attorney’s advice or advocacy is for the benefit of his client and not for the attorney’s

sole personal benefit.’” Id. at 381 (quoting Fraidin, 93 Md. App. at 611). Rather, to establish

liability against an attorney, Fischer was required top show “a desire to harm which is independent




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of the desire to protect his client.” Id. (quoting Fraidin, 93 Md. App. at 611). Fischer’s lawyer’s

attempted to identify an independent interest by asserting that Flax’s lawyer was “motivated by

malice because of his friendship with Flax.” Id. But the court rejected this as “mere speculation

[rather than] a legitimate inference” and affirmed the imposition of sanctions. Id. at 382.

       The decision in Nave reaffirmed the teaching of Goldschmidt and is on all fours with this

case. Like Tubi, Nave was the defendant in pending legal matters. 140 A.3d at 452. Like Tubi,

she attempted to “turn[] the tables by suing” her opponent’s lawyer. Id. at 455. Like Tubi, Nave’s

basis for suing the attorney was “his conduct in the previous litigation[,]” which she disliked. Id.

at 456. The D.C. Court of Appeals held that the complaint should be dismissed because “Nave

failed to allege facts from which it could legitimately be inferred that [the attorney] acted with

malice, i.e., with a desire to harm Ms. Nave that was independent of his desire to protect [his

client].” Id. at 457. Like Tubi, Nave had repeated legal labels such as “bad faith” to try to bolster

her claims. Id. But these conclusory labels found no support in facts that plausibly showed some

motive “independent” of the attorney’s “work in service of his client.” Id.

       The same holds here. Tubi’s sole allegation of breach is that Keller Postman’s clients filed

their demands for arbitration too soon. The Complaint identifies one, and only one, motivation:

that “Keller Postman rushed to file these demands for arbitration and disregarded the mandatory

notice and the 45-day informal dispute resolution period . . . . to force Tubi to settle [with Keller

Postman’s clients] using the threat of onerous fees.” (Dkt. 1 ¶ 62). In the face of these specific

facts, Tubi’s assertions that Keller Postman’s advice was “independent of any desire to protect its

clients” (id. ¶ 69) and was “not about vindicating its clients’ rights” (id. ¶ 57) are no different from

the “formulaic recitation of a cause of action’s elements” that the Supreme Court rejected in

Twombly, 550 U.S. at 555, and Iqbal, 556 U.S. at 681. Tubi’s recitation of legal labels cannot




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override what is indisputable under the facts alleged: Keller Postman’s facilitation of the purported

breach was an effort to advance its clients’ interests at the expense of their adversary. That was

Keller Postman’s job, not a tort.

                3.     Tubi’s various attacks on Keller Postman and Claimants’ underlying
                       claims cannot substitute for Tubi’s failure to plead a motive
                       independent of the clients’ interests.

        Tubi attempts to fill the logical hole in its tort theory by including a range of complaints

about Keller Postman’s unrelated litigations, its communication with its clients, and its legal

arguments in Claimants’ arbitrations. None of these allegations support an inference that Keller

Postman somehow had a (still unidentified) interest in the timing of Claimants’ filing that was

independent of Claimants’ interests. Nonetheless, Keller Postman cannot let these meritless

attacks go unaddressed.

        First, Tubi repeats the self-serving attacks leveled against Keller Postman by defendants of

mass arbitrations in unrelated cases. (Dkt. 1 ¶¶ 26–33). It is unclear what the Court is supposed

to make of these allegations, as Tubi’s counsel has argued that this case focuses on a narrow

issue—the timing of Keller Postman’s clients’ demands—that was not at issue in those cases. See

Ex. 5 at 7:13–17 (describing “centerpiece” of case as Keller Postman’s purported “interfering with

Tubi's rights under the terms of use to have this pre-arbitration dispute process”). But it should

also be noted that the courts in those cases all rejected allegations by Keller Postman’s adversaries

and ruled in favor of Keller Postman and its clients. See In re Centurylink Sales Pracs. & Secs.

Litig., No. 17-md-02795, 2020 WL 3513547, at *6 (D. Minn. June 29, 2020) (denying motion to

disqualify Keller Postman); Arena v. Intuit Inc., No. 19-cv-02546, 2021 WL 834253, at *4 (N.D.

Cal. Mar. 5, 2021) (denying preliminary approval of class settlement over Intuit’s complaint that

by intervening on behalf of arbitrating clients, Keller Postman was not “looking out for its clients’

best interests”).


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        Second, Tubi dresses up unsurprising and mundane allegations about Keller Postman’s

initial outreach to clients and then asks the Court to leap to wholly conclusory and unfounded

assumptions about Keller Postman’s subsequent interactions with clients. For example, Tubi

alleges that “Keller Postman’s solicitations on social media do not explain critical facts to its

prospective clients, including the nature of the claim, the terms of the representation, or even the

firm that will be representing them.” (Dkt. 1 ¶ 18). But that is hardly surprising, as advertisements

on social media occupy a minute amount of space (typically a portion of the viewer’s mobile

device), and generally have space for only a handful of words. The advertisements serve only to

grab the attention of potential clients and cannot possibly advise clients of the entire range of issues

relevant to a potential engagement. Yet, from this mundane observation, Tubi then leaps to the

claim that “[o]n information and belief, once Keller Postman has gathered a large number of sign-

ups, it processes the claims without sufficient further investigation.” (Id. ¶ 20). Without any

access to privileged materials—which Tubi knows exist (id. ¶ 61); Ex. 3 at 5—Tubi has no

plausible basis to describe the extent of Keller Postman’s interactions with its clients. Tubi does

not know what was disclosed as part of Keller Postman’s agreements with clients to investigate

their claims. It does not know what post-engagement interactions Keller Postman had with its

clients before advising them to file their claims. Tubi’s conclusory assertion of the legal position

that Keller Postman has not conducted “sufficient” investigation is just as baseless a leap, if not

more so, than the claim in Twombly that the defendants’ parallel actions must have been the result

of a secret agreement.

        Even if the Complaint included well-pleaded allegations that Keller Postman failed to

sufficiently investigate its clients’ claims (which it does not), that still would not square the circle

on Tubi’s legal claim. The breach identified by Tubi’s Complaint is the timing of Claimants’




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demands. And as noted, the Complaint asserts that “Keller Postman rushed to file these demands

for arbitration and disregarded the mandatory notice and the 45-day informal dispute resolution

period . . . . to force Tubi to settle [with Keller Postman’s clients] using the threat of onerous fees.”

(Id. ¶ 62). Thus, Tubi’s own Complaint alleges that the purported breach was caused by Keller

Postman’s desire to obtain a settlement for its clients. Tubi’s assertion that Keller Postman rushed

to file Claimants’ demands thus remains a claim that Keller Postman rushed to benefit its clients.

        Nor can Tubi revive its failed theory with conclusory assertions that there was a “conflict”

between Keller Postman’s advice and its clients’ interests. (Id. ¶ 56). Permitting “an unauthorized

surrogate to champion the rights of the . . . client would allow that surrogate to use the conflict

rules for his own purposes where a genuine conflict might not really exist. It would place in the

hands of the unauthorized surrogate powerful presumptions which are inappropriate in his hands.”

See In re Yarn Processing Pat. Validity Litig., 530 F.2d 83, 90 (5th Cir. 1976). But in all events,

Tubi’s own allegations again refute its conclusory assertion: By Tubi’s own account, Keller

Postman’s failure to file demands before fee-structure changes benefiting Tubi would have

disadvantaged Keller Postman’s clients by reducing their bargaining leverage. (Dkt. 1 ¶ 62).

Keller Postman’s alleged rushing of the demands was in service of, not “independent” of, its

clients’ interests. Even if that advice ends up being wrong, it still reflected an effort to advance

the clients’ interest, and therefore does not give rise to a cause of action by a non-client. See

Fischer v. Estate of Flax, 816 A.2d 1, 6 (D.C. 2003) (citing Morowitz v. Marvel, 423 A.2d 196,

199–200 (D.C. 1980)) (rejecting “the notion of a negligence action by third parties against adverse

counsel”).

        Third, and finally, while Tubi asserts that Keller Postman’s position on the enforceability

of the delay provision is meritless, that assertion is not relevant to this motion to dismiss. As noted,




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taking even a meritless position on behalf of a client against Tubi is not a breach of the Terms.

The Terms expressly allow, and in fact require, such threshold arguments to be raised in arbitration,

even where Tubi believes they lack merit. See Henry Schein, 586 U.S. at 68 (rejecting argument

that courts should not compel arbitration under agreements to arbitrate when one party argues that

the claims are “wholly groundless”). The relevant question is whether Keller Postman advised

clients to file their demands without delay based on a motivation independent of the clients’

interests. Tubi’s assertion that Keller Postman’s legal position is meritless does not make any

more plausible the unexplained claim that Keller Postman could benefit from its legal position

independently from its clients. Finally, to the extent the Court thought the merit of this position

was relevant, that would only highlight the need for a stay of this litigation pending resolution of

Claimants’ arbitrations. See infra, Argument, Section IV.

        That being said, Keller Postman’s legal position is well-founded. In challenging the

enforceability of the 45-day delay provision, Claimants are relying on the well-worn principle that

“[o]ne of the most common types of promise that is too indefinite for legal enforcement is the

promise where the promisor retains an unlimited right to decide later the nature or extent of the

promisor’s performance.” 1 Williston on Contracts § 4:34 (4th ed.). Accordingly, “[i]f one party

to an agreement is given an unlimited choice, that party may not be a promisor” and the “other

party’s promise may be unconscionable and may be wholly or partly illegal.” Restatement

(Second) of Contracts § 34 (Am. L. Inst. 1981). Those tenets apply to the delay provision in the

Terms, which binds Tubi to nothing yet requires consumers to wait 45 days, potentially precluding

claims close to a limitations period, just to bring a dispute to arbitration.

        Courts in California—where most of Keller Postman’s clients live, where Tubi is located,

and where contract formation would have occurred—find provisions unenforceable where they




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asymmetrically benefit the more powerful party. See, e.g., Heckman v. Live Nation Ent., Inc., 686

F. Supp. 3d 939, 965 (C.D. Cal. 2023); Little v. Auto Stiegler, Inc., 63 P.3d 979, 983–85 (Cal.

2003) (finding unconscionable a provision allowing appeals of awards exceeding $50,000 because

although facially mutual, the right is more valuable to the corporation, which is likely to want to

appeal a large award, than to a plaintiff, which is likely to want to appeal a small one). For

example, in Heckman, a company imposed an arbitration provision that permitted appeals from

grants of injunctive relief, but not from denials of injunctive relief. 686 F. Supp. 3d at 965–66.

The court found this provision unenforceable in part because although this “appeal provision

nominally applies to Plaintiffs and Defendants in equal measure, only Defendants will benefit in

practice.” Id. at 965. Similarly, Tubi imposed an unenforceable 45-day delay provision that was

nominally mutual, but in practice benefited only Tubi.

        One court recently declined to enforce arbitral staging provisions because they have “an a

priori chilling effect” on consumers bringing their claims against a company. Pandolfi v.

AviaGames, Inc., No. 23-cv-05971, 2024 WL 4051754, at *5 (N.D. Cal. Sept. 4, 2024). Such

provisions, like the delay provision in the Terms, have “a built-in asymmetry, and with no apparent

justification” because consumers are more likely to bring coordinated claims than are companies.

Id. at *7.

        Tubi’s own conduct after Keller Postman filed its clients demands confirms that Keller

Postman’s argument is colorable. The reissued contract contains new provisions that, unlike the

ones governing Claimants, expressly require Tubi to engage in a good faith effort to resolve the

dispute. (Dkt. 1, Ex. 9 at 172) (“After receipt of a completed Notice, the parties shall engage in a

good faith effort to resolve the Dispute . . . .”). Tubi presumably would not change its Terms on

this point if it did not think there was any good faith argument that they were ambiguous.




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       While the Complaint includes as much criticism of Keller Postman as Tubi can muster, the

Court should not lose sight of the governing standard. To state a claim, Tubi must establish with

well-pleaded facts that Keller Postman caused a breach, that this breach damaged Tubi, and that

Keller Postman was motivated to cause the breach by something other than obtaining money as a

result of obtaining a settlement for its clients. The Complaint fails on every point.

       D.      Tubi’s theory, if embraced, would chill countless legal representations.

       Courts are loath to allow suits like Tubi’s not just because of established precedent. They

have also recognized the instrumental objectives behind those rules: preservation of the integrity

of courts and attorney-client relationships. In dismissing an action against an attorney for inducing

a breach of contract, one California court observed:

       [P]ublic policy dictates that attorneys must remain free to counsel their clients
       without fear of subjecting themselves to liability as a result of the proper discharge
       of their professional obligations. Clients as well must feel free to seek out an
       attorney’s advice on any issue at any time. “Any rule to the contrary would
       constitute a serious impairment to the attorney-client relationship, and a resulting
       deleterious effect on the administration of justice.”

Schick v. Lerner, 193 Cal. App. 3d 1321, 1329 (1987) (quoting Wolfrich Corp. v. United Servs.

Auto. Ass’n, 149 Cal. App. 3d 1206, 1211 (1983)).

       The stakes here are similarly high. Courts have long warned of the “specter of abuse”

associated with a party’s accusations against opposing counsel, which can serve as “a powerful

litigation tactic to deny an opposing party’s counsel of choice.” In re Cnty. of L.A., 223 F.3d 990,

996 (9th Cir. 2000); see also Paul v. Jud. Watch, Inc., 571 F. Supp. 2d 17, 20 (D.D.C. 2008)

(warning that accusations against opposing counsel “may be used as ‘procedural weapons’ to

advance purely tactical purposes.”); Appeal of Infotechnology, Inc., 582 A.2d 215, 219 (Del. 1990)

(“[I]t is impermissible to allow surrogates to enforce the professional obligations of lawyers for

tactical advantage at trial.”). That is what Tubi tries here.



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       To consider fully the corrosive implications of embracing Tubi’s theory, consider that,

every day, lawyers give their clients advice about the enforceability of contract provisions. Here,

for example, Jenner & Block LLP (“Jenner”) advised Tubi to ignore the prohibition on multi-

claimant proceedings in the Terms, after which Tubi sought arbitral consolidation to avoid fees

the Terms required it to pay. (Dkt. 1 ¶ 5). To give another example, Jenner is defending the

musician Chance the Rapper against a lawsuit by Chance’s former manager, Patrick Corcoran,

alleging breach of contract. See Pat the Manager, LLC v. Chance the Rapper, LLC, et al.,

No. 2020-L-012697 (Ill. Cir. Ct. Nov. 30, 2020). Jenner has counseled Chance not to cede to

Corcoran’s view of the contract; i.e., to engage in conduct Corcoran alleges to be a breach. See

Bennett v. Corcoran, No. 2021-L-001899 (Ill. Cir. Ct. Feb. 19, 2021).            Imagine Corcoran

decides—based on what public information he can glean and ignoring that he lacks lawful access

to any privileged communications between Jenner and Chance—that he can accuse Jenner of

violating its ethical obligations to Chance by failing to investigate the countersuit, which Corcoran

thinks is frivolous. On this basis, Corcoran self-interestedly concludes Chance would have been

better off not filing the countersuit and is therefore in conflict with Jenner, which in Corcoran’s

mind was just interested in running up the bill. According to Tubi, that is enough for Corcoran to

file a lawsuit against Jenner—in fact, more than enough, because Jenner gets paid by the hour

regardless of the outcome of the litigation, whereas Keller Postman only gets paid a portion of the

recovery if there is one.

       Jenner should not face a tort suit simply because their client’s adversary asserts that they

counseled their clients to breach a contract, alleges that the breach injured them, and claims that

Jenner was motivated by a desire to make money from the representation. The same is true of

Keller Postman.




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II.     The Court should dismiss the declaratory relief claims.

        After dismissing Tubi’s tortious interference claims, the Court should exercise its

discretion to dismiss Tubi’s tag-along claims for declaratory relief. Courts disfavor declaratory

relief on matters pending in arbitration, which harms the autonomy of the arbitral process and

wastes judicial resources. But Tubi asks for just that: a declaration determining the sufficiency of

demands Keller Postman’s clients are currently prosecuting before JAMS. Moreover, Tubi lacks

standing to raise purported claims on behalf of Keller Postman’s clients.           That is Tubi’s

undisguised attempt to separate its arbitral adversaries from their chosen counsel. The Court

should reject this effort.

        A.      The Court should not duplicate the arbitrator’s work.

        Pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201, Tubi seeks a declaration that

the “allegations in the claims Keller Postman filed in the purported mass arbitration against Tubi

do not provide specific facts to support Unruh Act claims.” (Dkt. 1 ¶ 83). Tubi’s underlying legal

position lacks merit. JAMS accepted the sufficiency of Keller Postman’s clients’ demands, which

met the significantly relaxed pleading standards in arbitration. (Id. ¶ 68); see also Tokura Const.

Co. v. Corporacion Raymond, S. A., 533 F. Supp. 1274, 1278 (S.D. Tex. 1982) (“arbitration

proceedings are not held to the same technical rules of pleading and evidence as lawsuits in federal

courts”). But Tubi’s claim should fail at the threshold because, as Tubi concedes, the legal

question at the center of Tubi’s declaratory relief claim is already subject to arbitration before

JAMS as the Terms require. (Dkt. 1 ¶¶ 5, 68). That provides a compelling reason for the court to

exercise its discretion to deny declaratory relief.

        The language of the Declaratory Judgment Act is permissive.            It provides that in

appropriate circumstances, a federal court “may declare the rights and other legal relations of any

interested party seeking such declaration, whether or not further relief is or could be sought.” 28


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U.S.C. 2201(a) (emphasis added). Courts interpreting this language have emphasized that there is

“nothing automatic or obligatory about the assumption of jurisdiction by a federal court to hear a

declaratory judgment action.” Wilton v. Seven Falls Co., 515 U.S. 277, 288 (1995) (internal

quotation marks omitted). “In the declaratory judgment context, the normal principle that federal

courts should adjudicate claims within their jurisdiction yields to considerations of practicality and

wise judicial administration.” Id. Stated differently, this Court has ample authority not to waste

judicial resources on Tubi’s duplicative claim seeking relief.

       Moreover, “bringing a claim via a declaratory judgment action does not allow a litigant to

evade the [Federal Arbitration Act] if the underlying dispute falls within the reach of the arbitration

provision.” Tannatt v. Varonis Sys., Inc., No. 18-cv-12589, 2019 WL 830482, at *2 (D. Mass.

Feb. 21, 2019) (citing Aeronaves de Mexico, S. A. v. Triangle Aviation Servs., Inc., 389 F. Supp.

1388, 1391 (S.D.N.Y. 1974), aff’d, 515 F.2d 504 (2d Cir. 1975)). “Where the issues in an action

for a declaratory judgment parallel and duplicate the issues appropriately before the arbitrators,

the Court may dismiss the action or deny all relief . . . .” Aeronaves de Mexico, 389 F. Supp. at

1391; cf. also Franchise Tax Bd. v. Constr. Laborers Vacation Tr. for S. Cal., 463 U.S. 1, 16 n.14

(1983) (“Federal courts will not seize litigations from state courts merely because one, normally a

defendant, goes to federal court to begin his federal-law defense before the state court begins the

case under state law.”). The Court should dismiss Tubi’s request for a declaration here, which

parallels issues properly in JAMS arbitration.

       B.      Tubi lacks standing to seek declaratory relief related to Keller Postman’s
               obligations to Tubi’s adversaries.

       The Court should also dismiss Tubi’s claim for declaratory relief relating to Keller

Postman’s duties to its own clients. The claim seeks to separate the consumers bringing claims

against Tubi in arbitration from their chosen counsel. It also relies on the dubious logic that Keller



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Postman treated its consumer clients unethically by pursuing their interests in a way that its

adversary would not like.

        These arguments fail because Tubi, as the fox hoping to guard the henhouse, lacks standing

to bring them. “[A] motion to dismiss for lack of standing constitutes a motion under Rule

12(b)(1) of the Federal Rules of Civil Procedure because ‘the defect of standing is a defect in

subject matter jurisdiction.’” Matthew A. Goldstein, PLLC v. U.S. Dep’t of State, 153 F. Supp. 3d

319, 330 (D.D.C. 2016), aff’d, 851 F.3d 1 (D.C. Cir. 2017) (quoting Haase v. Sessions, 835 F.2d

902, 906 (D.C. Cir. 1987)). Standing requires a plaintiff to show (1) injury in fact that is “concrete

and particularized” and “actual or imminent” and not merely “conjectural or hypothetical”; (2) a

causal connection between the injury and the conduct complained of that is not the result of some

independent action by “some third party not before the court”; and (3) that it is “likely” and not

“speculative” that the injury will be redressed by a favorable decision. See Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560–61 (1992). In addition, “a litigant must assert his or her own legal

rights and interests, and cannot rest a claim to relief on the legal rights or interests of third parties.”

Powers v. Ohio, 499 U.S. 400, 410 (1991). “The standing requirement protects against the

strategic exploitation of the rules of ethics long disfavored by the Courts.” Colyer v. Smith, 50 F.

Supp. 2d 966, 973 (C.D. Cal. 1999) (citation omitted). “The cost and inconvenience to clients and

the judicial system from misuse of the rules for tactical purposes is significant.” Optyl Eyewear

Fashion Int’l v. Style Cos., 760 F.2d 1045, 1050 (9th Cir. 1985).

        Tubi asserts standing based on its conclusion that “an actual and substantial controversy

exists between Tubi and Keller Postman concerning the legality of Tubi’s alleged conduct.”

(Dkt. 1 ¶ 80). But the facts Tubi alleges show that the only controversy over the legality of Tubi’s

conduct are the demands before JAMS brought by Keller Postman’s clients. (Id. ¶ 36). Tubi’s




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rule would eviscerate the injury-in-fact, causation, and redressability requirements by giving every

litigant standing to pursue declaratory relief against an opponent’s lawyers. That is not the rule.

See Centurylink, 2020 WL 3513547, at *6.

        Tubi cites CenturyLink’s references to a similarly situated company’s allegations to try and

run the same playbook (Dkt. 1 ¶ 27.a.vi), but that district court actually denied a motion to

disqualify Keller Postman after observing that “CenturyLink asserts that Keller has conflicts that

harm its clients, not CenturyLink . . . .” and that “CenturyLink cannot show ‘the invasion of a

legally protected interest’ from Keller's representation of its clients, and certainly not one that is

‘not conjectural or hypothetical.’” CenturyLink, 2020 WL 3513547, at *6.

        The same is true here. Tubi claims that it was harmed, but it has not alleged what “legally

protected interest” it has. See Lujan, 504 U.S. at 560. Instead, Tubi concludes—lacking lawful

access to materials that would allow it to even evaluate its conclusion—that Keller Postman

insufficiently vetted its clients’ claims. Even if this were true, which it is not, the harms to Tubi

are speculative at best. Assuming Keller Postman brought frivolous claims without vetting them

as Tubi alleges, that would only result in the “dismissal, potential counterclaims, and potential

sanctions” that Tubi threatens. (Dkt. 1 ¶ 67). Tubi’s Terms provide multiple ways to recover

through JAMS the attorneys’ fees and costs it claims as its speculative damages here. (Id. ¶ 68);

(id., Ex. 8 at 130) (“[I]f the arbitrator, at the request of the winning party, finds that the losing party

brought a claim . . . frivolously or for an improper purpose, then regardless of the amount in

dispute, the arbitrator must order the losing party to pay both sides’ arbitration fees and may order

the losing party to pay the winning party’s reasonable attorneys’ fees”); Ex. 2 at 22 (JAMS

Rule 24) (providing for sanctions, such as “costs occasioned by the actionable conduct, including

attorneys’ fees[,]” where a party fails to “comply with its obligations under any of these Rules[.]”).




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And by its own estimation, Tubi has already avoided the main “injury” it feared: having to pay

the arbitral initiation fees it obligated itself to pay. (Dkt. 1 ¶ 68) (“Keller Postman’s efforts to

force Tubi into a settlement based not on merit but instead on fear of a massive upfront arbitration

bill have failed.”). Thus, whatever injury Tubi claims is not imminent enough to confer standing.

See Welborn v. Internal Revenue Serv., 218 F. Supp. 3d 64, 76 (D.D.C. 2016) (“Allegations of

speculative or possible future injury do not satisfy the requirements of Article III.”). Tubi’s

rejection of Keller Postman’s offer for dialog that would have addressed the concerns it now

litigates (Dkt. 1 ¶ 64) demonstrates just how little injury it perceives.

       More obviously, the relief Tubi requests here—a declaration that Keller Postman’s conduct

was unethical—would not redress whatever injury it thinks it has suffered or will suffer.

“[N]either a general interest in a just adjudication nor an interest in winning a case is enough to

confer standing.” Sherman v. CLP Res., Inc., No. 12-cv-8080, 2015 WL 13542762, at *3 (C.D.

Cal. Feb. 4, 2015). Tubi’s core complaint is that it is still “fac[ing] an arbitration process that

would not be taking place absent Keller Postman[] . . . .” (Dkt. 1 ¶ 5), and Tubi is seeking an order

that would put an effective end to those arbitrations (id. ¶ 85). But a declaration about Keller

Postman’s duties would not have any impact on those arbitrations.             Third parties—Keller

Postman’s clients—hold the claims against Tubi, and this Court lacks authority to order non-

parties to dismiss their claims. The declaration Tubi seeks would only support the company’s

broader mission to harm Keller Postman’s clients by separating them from their chosen counsel.

The Court should not enlist itself in this mission by allowing this suit to proceed further.

III.   The Court should dismiss this tactical lawsuit with prejudice.

       In considering this motion, the Court should place Tubi’s lawsuit within the appropriate

context.   For lower-value and highly-uniform consumer claims, class actions are orders of

magnitude more efficient than any individualized dispute resolution. But companies have long


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assumed that “[t]he realistic alternative to a class action is not 17 million individual suits, but zero

individual suits, as only a lunatic or a fanatic sues for $30.” Carnegie v. Household Int’l, Inc., 376

F.3d 656, 661 (7th Cir. 2004). They therefore imposed agreements requiring individualized

bilateral arbitration, especially after the Supreme Court held that states could not require

companies to use class arbitration. See AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 336,

351 (2011).

       In selling the legality of these arrangements to the Supreme Court, companies and their

proxies held out the possibility that large numbers of individual plaintiffs could pool resources to

make individual arbitration more efficient. At that time, the Chamber of Commerce—upon whose

revised assessment Tubi now relies (Dkt. 1 ¶ 16 n.2)—favorably cited the example of attorneys

representing “over 1,000 claimants—each making virtually identical allegations” against AT&T.

See Br. of the Chamber of Com. of the U.S. as Amicus Curiae Supporting Pet’rs, Am. Express Co.

v. Italian Colors Rest., 570 U.S. 228 (2012) (No. 12-133), 2012 WL 6759408, at *27–30. It touted

how the “Internet and social media can be used effectively to reach out to potential claimants . . .

[and to] identify other businesses or individuals with similar claims.” Id. at *30. The naysayers

were “mistaken in concluding that class actions . . . are the only effective means . . . of proving

small claims.” Id.

       For the better part of a decade, however, the practical consequence for companies like Tubi,

with a bilateral arbitration clause, was the elimination of claims that no one claimant had an

incentive to pursue in isolation. “Scores of claims vanished from the civil justice landscape,” and

“the legal claims of minorities, women, wage-and-hour workers, and the working poor were

systemically and disproportionately foreclosed.” J. Maria Glover, Mass Arbitration, 74 Stan. L.




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Rev. 1283, 1283 (2022). “Elimination of those claims would tend to be due to the economics of

claiming, not due to their underlying merits.” Id. at 1307.

        Eventually, consumer attorneys accepted the Chamber’s proposal and began using

economies of scale to arbitrate small-value, meritorious claims on behalf of large groups of injured

consumers. Companies like Tubi began crying foul. But recognizing that individuals were only

enforcing the modest procedural rights companies left them with, courts have rejected accusations

that enforcement of arbitral contracts by many individuals at once constitutes unethical extortion.

Many have reacted like Judge Alsup, who criticized the argument’s “hypocrisy.” Abernathy, 438

F. Supp. 3d at 1067–68; see also Adams, 414 F. Supp. 3d at 1252 n.2 (characterizing fees as a

result of company’s drafting choices); Intuit, 2020 WL 7094231, at *13 (same).

        Rather than the result of coercion by lawyers representing consumers, the combined costs

of individual arbitration are an inescapable feature of companies’ decision to deny consumers the

option of a class action and instead impose individual arbitration of relatively low-value claims.

When each arbitration must be pursued individually, the costs can add up.

        Companies like Tubi, faced with these costs, have therefore returned to the drawing board.

Some have dropped arbitration provisions from their consumer agreements. See J. Maria Glover,

Recent Developments in Mandatory Arbitration Warfare: Winners and Losers (So Far) in Mass

Arbitration, 100 Wash. U.L. Rev. 1617, 1625–27 (2023). Others have tried to sell preclusive class

action settlements to the lowest bidder. Id. at 1629–33. Many, like Tubi, have argued “that the

enforcement of their arbitration agreements according to their terms would be fundamentally

unfair—to them.” Id. at 1628 (citation omitted). Still others have sued the arbitral fora they

designated. Id. at 1633–35. Tubi now adds to the list its current effort to sue the lawyers

representing its users in arbitration.




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       The Court should reject Tubi’s effort and dismiss the Complaint with prejudice.

“Dismissal with prejudice is warranted when ‘the allegation of other facts consistent with the

challenged pleading could not possibly cure the deficiency.’” Abbas v. Foreign Pol’y Grp., LLC,

783 F.3d 1328, 1340 (D.C. Cir. 2015). Tubi cannot state a tortious interference claim because it

cannot avoid that Keller Postman’s clients followed the Terms by contesting the enforceability of

the delay provision in arbitration on an accelerated timeline that made no difference to Tubi. Tubi

cannot show that Keller Postman was motivated by its own independent interests consistent with

the allegations about contingency fee arrangements and Keller Postman’s efforts to maximize its

clients’ bargaining leverage. Tubi cannot obtain a declaration on the sufficiency of Keller

Postman’s clients’ arbitral demands consistent with the allegations that those demands are pending

in JAMS. And Tubi cannot obtain a declaration confirming its ethical accusations against Keller

Postman because they are not relevant to its failed tortious interference claim and Tubi further

lacks standing to raise these complaints.

IV.    Alternatively, the Court should stay this case as Tubi arbitrates the core issues
       beneath this case with Keller Postman’s clients.

       A.      Tubi’s claims are based on an issue referable to arbitration.

       If the Court decides not to dismiss this case, the FAA requires the Court to stay this matter

pending JAMS arbitration of the underlying issues between Tubi and Keller Postman’s clients.

9 U.S.C. § 3. Section 3 of the FAA requires that when a suit is brought

       upon any issue referable to arbitration under an agreement in writing for such
       arbitration, the court in which such suit is pending, upon being satisfied that the
       issue involved in such suit or proceeding is referable to arbitration under such an
       agreement, shall on application of one of the parties stay the trial of the action until
       such arbitration has been had in accordance with the terms of the agreement . . . .

9 U.S.C. § 3. A “party” in the Section 3 context means a party to the lawsuit, not a party to the

arbitration agreement. See Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 630, 630 n.4 (2009).



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        The plain text of Section 3 requires this litigation to be stayed because (1) there is a valid

written agreement to arbitrate; and (2) the litigation involves an issue referable to arbitration. Tubi

alleges that its Terms are a valid written agreement to arbitrate. (Dkt. 1 ¶ 72). And the dispositive

issue in this suit—whether Keller Postman’s clients breached the Terms by challenging the validity

of the delay provision in arbitration before complying with it—is both an element of Tubi’s tortious

interference claim from which its other claims flow (Dkt. 12 at 4) and is referable to arbitration.

The Terms refer “any Dispute (as defined herein) between [Claimant] and Tubi” to arbitration, and

define “Dispute” to include “any disputes, actions, claims, or controversies between [Claimant]

and the [sic] Tubi that arise from or in any way relate to or concern . . . this Arbitration Agreement,

[and] any other aspect of these Terms of Use (including their applicability and their conformance

to applicable law) . . . .”    (Dkt. 1, Ex. 8 at 129–30).      The Terms state that “disputes over

arbitrability shall be resolved by the arbitrator” and incorporate JAMS Streamlined Rule 8(b),

which states that “disputes over the . . . validity, interpretation or scope of the agreement under

which Arbitration is sought . . . shall be submitted to and ruled on by the Arbitrator.” (Id., Ex. 8

at 130); Ex. 2 at 11 (JAMS Rule 8(b)). Tubi even alleges that “JAMS decided that the issue of

whether the claimants met the precondition for arbitration should be left to the still-to-be-assigned

arbitrator” (Dkt. 1 ¶ 68) and that it is continuing to participate in the arbitration (id. ¶ 5).

        The Complaint illustrates the observation that a “suit against a nonsignatory that is based

upon the same operative facts and is inherently inseparable from the claims against a signatory

will always contain ‘issue[s] referable to arbitration under an agreement in writing.’” Hill v. GE

Power Systems, Inc., 282 F.3d 343, 347 (5th Cir. 2002) (quoting 9 U.S.C. § 3).                     In such

circumstances, a Section 3 stay is appropriate. Such a stay is also supported by the Court’s

established discretion to stay parallel proceedings, as a signatory to an arbitration agreement




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cannot “undermine the arbitration proceedings and thwart the federal policy in favor of arbitration”

by filing suit against a nonsignatory closely related to the arbitral proceedings. Id.; see also Moses

H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 20 n.23 (1983) (noting courts’

discretionary authority to “stay litigation among the non-arbitrating parties pending the outcome

of the arbitration”).

        Notably, Section 3 “does not require that the claims in the instant suit be referable to

arbitration. Rather, it requires that an ‘issue involved in [the] suit’ be referable to arbitration.”

CPB Contractors Pty Ltd. v. Chevron Corp., No. 16-cv-05344, 2017 WL 7310776, at *4 (N.D.

Cal. Jan. 17, 2017) (emphasis added) (quoting 9 U.S.C. § 3); see also Hill, 282 F.3d at 347–49

(holding that a Section 3 stay was appropriate even when claims against a nonsignatory defendant

could not be compelled to arbitration). In CPB, the plaintiff, a signatory to an arbitration contract

with Chevron Australia, brought tortious interference claims against nonsignatory defendants

closely related to Chevron Australia. Id. at *1. Chevron Australia had initiated arbitration against

CPB. So, like Keller Postman here, the nonsignatory defendants in CPB moved for a stay of

litigation pursuant to Section 3 pending the completion of that arbitration. Id. at *2. Citing Hill

and observing that the “application of § 3 to this case is not based on Defendants’ ability to base

their defense on the arbitration award” but on “the possibility that proceeding with this case will

interfere with Chevron Australia’s right to have the claims against it decided in arbitration[,]” the

Court granted the motion to stay. Id. at *5. Likewise, Section 3 mandates a stay here because this

lawsuit would interfere with Claimants’ contractual right to challenge the delay provision in

arbitration. (Dkt. 1 ¶¶ 68, 72).

        B.      Keller Postman has the right to enforce the Terms.

        That Keller Postman is not a signatory to the Terms makes no difference to the analysis

because Keller Postman has the right to enforce the Terms against Tubi under the doctrine of


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equitable estoppel. Overruling earlier authority that nonsignatories to an arbitration agreement can

never obtain Section 3 relief, the Supreme Court explained that “a litigant who was not a party to

the relevant arbitration agreement may invoke § 3 if the relevant state contract law allows him to

enforce the agreement.” Arthur Andersen, 556 U.S. at 632. “[T]raditional principles of state law

allow a contract to be enforced by or against nonparties to the contract through . . . estoppel.” Id.

at 631 (internal quotation marks omitted).

       Since Arthur Andersen, courts in this and other jurisdictions have regularly acknowledged

that nonsignatories may enforce arbitration agreements against signatories through the doctrine of

estoppel. See, e.g., Kelleher v. Dream Catcher, L.L.C., 278 F. Supp. 3d 221, 225 (D.D.C. 2017);

Riley v. BMO Harris Bank, N.A., 61 F. Supp. 3d 92, 99 (D.D.C. 2014); Hurley v. Emigrant Bank,

No. 19-cv-0011, 2019 WL 5537330, at *4 (N.D. Tex. Oct. 25, 2019) (applying Delaware law);

Kramer v. Toyota Motor Corp., 705 F.3d 1122, 1128–29 (9th Cir. 2013) (applying California law);

Usme v. CMI Leisure Mgmt., Inc., 106 F.4th 1079, 1087–88 (11th Cir. 2024); Ragone v. Atl. Video

at Manhattan Ctr., 595 F.3d 115, 126–27 (2d Cir. 2010). As Arthur Andersen clarified, that

enforcement extends to Section 3. 556 U.S. at 633; see also Grigson v. Creative Artists Agency

L.L.C., 210 F.3d 524, 526 (5th Cir. 2000) (“[P]roceedings against parties and non-parties to the

arbitration agreement are stayed pending the outcome of arbitration, when the action against the

non-party is dependent upon interpretation of the underlying contract.”).

       Such application of estoppel is appropriate where “the non-signatory is seeking to resolve

issues that are intertwined with an agreement that the signatory has signed.” Riley, 61 F. Supp. 3d

at 98–99 (quoting Fox v. Computer World Servs. Corp., 920 F. Supp. 2d 90, 103 (D.D.C. 2013)).

“[F]or a court to find Plaintiff’s claims ‘intertwined’ with the agreements containing the arbitration

provision, Plaintiff need not claim that Defendants breached those agreements themselves.” Id. at




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100. “[I]nstead, the relevant question is whether the agreements need to be ‘relied upon’ or are

‘integral’ to establishing the violation alleged by Plaintiff” and the “plaintiff’s actual dependence

on the underlying contract in making out the claim against the nonsignatory defendant is therefore

always the sine qua non of an appropriate situation for applying equitable estoppel.” Id. (cleaned

up). “[W]here there would be no claim against the non-signatory defendant but for the contract,

applying the doctrine of estoppel is appropriate.” Kelleher, 278 F. Supp. 3d at 225. “Claims of

tortious interference with contract are particularly well suited for imposing equitable estoppel

against the signatory: But for the contract containing the arbitration clause, there would be no

breach and no claim for interference with the contract.” Goldman v. KPMG, LLP, 173 Cal. App.

4th 209, 226 n.10 (2009); see also Bitstamp Ltd. v. Ripple Labs Inc., No. 15-cv-01503, 2015 WL

4692418, at *5 (N.D. Cal. Aug. 6, 2015) (“Courts routinely allow non-signatory defendants to

compel arbitration of tortious interference claims.”).

        The above standards are easily met here. This lawsuit is not just intertwined with the Terms

or derivative of the Terms; it is Tubi’s attempt to convert an ongoing legal dispute over the

interpretation of the Terms into a tort claim. Tubi’s tortious interference claim based on that

interpretive dispute is the “centerpiece” of this case. Ex. 5 at 7:13–17. As JAMS decided and

Tubi’s allegations recognize (Dkt. 1 ¶¶ 5, 68), Tubi delegated that issue, which goes to

arbitrability.   Even absent a delegation agreement, “courts presume that the parties intend

arbitrators, not courts, to decide disputes about the meaning and application of particular

procedural preconditions for the use of arbitration.” BG Grp., PLC v. Republic of Argentina, 572

U.S. 25, 34 (2014); see also Howsam v. Dean Witter Reynolds, Inc., 537 U.S. 79, 85 (2002)

(“[I]ssues of procedural arbitrability, i.e., whether prerequisites such as time limits, notice, laches,

estoppel, and other conditions precedent to an obligation to arbitrate have been met, are for the




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arbitrators to decide.”).   And the Terms include a provision expressly acknowledging the

possibility that “[e]ach of you and Tubi may incur attorneys’ fees during the arbitration.” (Dkt. 1,

Ex. 8 at 130). In Riley, the fact that the arbitration agreement referenced the non-signatories who

later sought to enforce the agreement gave the court added comfort in applying equitable estoppel.

61 F. Supp. 3d at 101.

        Given both the mandates of Section 3 and the applicability of the estoppel doctrine, the

Court should stay this case until Tubi and Keller Postman’s clients are finished arbitrating the key

issues the Complaint raises. Tubi cannot prevail against Keller Postman without establishing that

Keller Postman’s clients breached the Terms and that Tubi incurred damages as a result. Yet Tubi

alleges that this very issue is subject to arbitration pursuant to the Terms. The Court should stay

Tubi’s claims until that arbitration is complete. Any other outcome would usurp the arbitrator’s

role in determining the delegated issue, which the FAA forbids. See Henry Schein, 586 U.S. at 68

(“When the parties’ contract delegates the arbitrability question to an arbitrator, a court may not

override the contract. In those circumstances, a court possesses no power to decide the arbitrability

issue.”).

                                         CONCLUSION

        For the reasons above, the Court should grant the motion and dismiss this case with

prejudice or, in the alternative, stay this case pending the completion of arbitrations between Tubi

and Keller Postman’s clients.




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Dated: September 25, 2024                 Respectfully submitted,

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